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                                                                           2

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                                                                           7   Attorneys for the State of Alaska
                                                                           8                       IN THE UNITED STATES DISTRICT COURT
                                                                           9
                                                                                                        FOR THE DISTRICT OF ALASKA

                                                                          10   STATE OF ALASKA,                        )
                                                                                                                       )
                                                                          11                         Plaintiff,        )        Case No. 1:16-cv-00018-SLG
                                                                                                                       )
ATTORNEY GENERAL, STATE OF ALASKA




                                                                          12                 v.                        )
                                                                                                                       )
                                    PO Box 110300, JUNEAU, ALASKA 99811




                                                                          13
                                                                               UNITED STATES FOREST SERVICE )                   COMPLAINT FOR
                                                                          14   and BETH PENDLETON, in her              )        DECLARATORY AND
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                                                                               official capacity as Regional Forester, )        INJUNCTIVE RELIEF
                                                                          15                                           )        (5 U.S.C. § 702)
                                                                                                     Defendants.       )
                                                                          16
                                                                                                                       )
                                                                          17
                                                                                      The plaintiff State of Alaska (“the State”) brings this complaint against the
                                                                          18
                                                                               defendants United State Forest Service (“the Forest Service”) and Beth Pendleton, in
                                                                          19

                                                                          20   her official capacity as the Forest Service’s Regional Forester, seeking a judgment

                                                                          21   declaring the State’s right to use a transportation and utility easement granted by
                                                                          22
                                                                               Congress under Section 4407 of the Safe, Accountable, Flexible, Efficient
                                                                          23
                                                                               Transportation Equity Act: A Legacy for Users, Public Law 109-59 (119 Stat. 1144,
                                                                          24
                                                                               1777) as amended by Public Law 114-94 (129 Stat. 1312, 1438) (“SAFETEA-LU
                                                                          25

                                                                          26
                                                                               § 4407”) for the State’s Shelter Cove Road project. The State also seeks injunctive



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                                                                           1   relief compelling defendant Beth Pendleton to issue recordable documentation of the
                                                                           2
                                                                               congressionally granted easement for the project (“the Section 4407 easement”). This
                                                                           3
                                                                               action challenges the defendants’ decision to deny the issuance of the Section 4407
                                                                           4
                                                                               easement for the construction and operation of the State’s Shelter Cove Road, as the
                                                                           5

                                                                           6   defendants’ decision to issue a Special Use Permit in lieu of issuing recordable

                                                                           7   documentation of the Section 4407 easement is a final agency action that violates a
                                                                           8   statutory right of the State and the terms of the congressional grant.
                                                                           9
                                                                                                           JURISDICTION AND VENUE
                                                                          10
                                                                                      1.     The cause of action arises under the laws of the United States and the
                                                                          11
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                                                                               Court has jurisdiction over the matter pursuant to 28 U.S.C. §§ 1331, 1361 and 2201.
                                                                          12
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                                                                          13   Judicial review is available under the Administrative Procedure Act, 5 U.S.C. §§ 701-

                                                                          14   706.
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                                                                          15
                                                                                      2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e).
                                                                          16
                                                                                                                       PARTIES
                                                                          17
                                                                                      3.     The plaintiff, State of Alaska, is a state government. The State of
                                                                          18

                                                                          19   Alaska’s Department of Transportation and Public Facilities (“AKDOT”) is an

                                                                          20   executive agency of the State of Alaska and is the owner and developer of the Shelter
                                                                          21   Cove Road project.
                                                                          22
                                                                                      4.     The full name of the defendant Forest Service is the United States
                                                                          23
                                                                               Department of Agriculture, Forest Service. It is an executive agency of the United
                                                                          24
                                                                               States entrusted with the administration of the National Forest System, including the
                                                                          25

                                                                          26   Tongass National Forest.

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                                                                           1          5.     The defendant Beth Pendleton is the Regional Forester for the Forest
                                                                           2
                                                                               Service’s Alaska Region. The Alaska Region Regional Forester is the designated
                                                                           3
                                                                               official for signing and issuing the recordable documentation of the Section 4407
                                                                           4
                                                                               transportation and utility easements.
                                                                           5

                                                                           6                                           FACTS

                                                                           7          6.     On March 24, 2014 the Forest Service announced a new interpretation of
                                                                           8   the scope and requirements of the Section 4407 transportation and utility easements that
                                                                           9
                                                                               would make development of the State’s projects nearly impossible. The Forest
                                                                          10
                                                                               Service’s announcement came a full a decade after the Parties began working on the
                                                                          11
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                                                                               exchange of easements to enable the Shelter Cove Road project, and two full years after
                                                                          12
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                                                                          13   the Parties confirmed their common understanding of the scope and requirements of the

                                                                          14   Section 4407 easements. The Forest Service’s final refusal to issue a Section 4407
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                                                                          15
                                                                               easement for the project occurred just one month after a congressional committee
                                                                          16
                                                                               considered the matter and passed a bill clarifying SAFETEA-LU § 4407, and occurred a
                                                                          17
                                                                               mere two days after that same committee issued a report stating the intent of the
                                                                          18

                                                                          19   amendment was to allow the transfer of Section 4407 easements without further delay.

                                                                          20          7.     Relying on the Forest Service’s assurances of a future transfer of a Section
                                                                          21   4407 easement, the State spent millions of dollars in additional public funds to acquire
                                                                          22
                                                                               non-federal land to avoid sensitive National Forest System resources and to site the road
                                                                          23
                                                                               in a location with the least environmental impact.
                                                                          24
                                                                                      8.     Under the Forest Service’s new interpretation of the scope and
                                                                          25

                                                                          26   requirements of the Section 4407 transportation and utility easements, the State would

                                                                               SOA v. USFS and Beth Pendleton                                        1:16-cv-00018-SLG
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                                                                           1   only be eligible to receive documentation of the congressionally granted easement for
                                                                           2
                                                                               the project if the State sited the road in the location with the greatest environmental
                                                                           3
                                                                               impact and that carried the greatest construction risks.
                                                                           4
                                                                                            SAFETEA-LU SECTION 4407 EASEMENT EXCHANGE
                                                                           5

                                                                           6          9.     On August 10, 2005, with the passage of SAFETEA-LU § 4407, the

                                                                           7   United States and the State of Alaska consummated an exchange of easements across
                                                                           8   their intermingled lands in Southeast Alaska.
                                                                           9
                                                                                      10.    As part of the reciprocal exchange of easements, the United States
                                                                          10
                                                                               received easement rights for 231 federal-owned facilities—docks, floats, boat ramps,
                                                                          11
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                                                                               breakwaters, and other similar improvements—that are located on state-owned
                                                                          12
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                                                                          13   submerged lands and provide access to adjacent Tongass National Forest sites and

                                                                          14   infrastructure. At statehood, when title to submerged lands passed to the State of
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                                                                          15
                                                                               Alaska, the facilities (referred to by the Parties as “marine access points”) that were
                                                                          16
                                                                               constructed and operated by the federal government no longer had title to the
                                                                          17
                                                                               submerged land underlying each facility.
                                                                          18

                                                                          19          11.    As part of the reciprocal exchange of easements, the United States also

                                                                          20   received easement rights at 126 locations for log transfer facilities to support silviculture
                                                                          21   operations. Approximately half of the log transfer facility easement locations had
                                                                          22
                                                                               existing facilities from past federal timber sales, and approximately half of the log
                                                                          23
                                                                               transfer facility easement locations were chosen by the Forest Service as suitable areas
                                                                          24
                                                                               for infrastructure to support future silviculture operations.
                                                                          25

                                                                          26

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                                                                           1            12.   As part of the reciprocal exchange of easements, the State received
                                                                           2
                                                                               easement rights to 19 transportation and utility corridors connecting the communities of
                                                                           3
                                                                               Southeast Alaska to each other and to the North American road system. At the time of
                                                                           4
                                                                               the exchange, the State was concerned that the Forest Service’s 2001 Roadless Area
                                                                           5

                                                                           6   Conservation Rule (“Roadless Rule”) may become applicable in the Tongass National

                                                                           7   Forest and may limit the development of infrastructure in Southeast Alaska.
                                                                           8            13.   In October 2003, the Deputy Commissioner of AKDOT initiated
                                                                           9
                                                                               discussions with the Deputy Regional Forester for the Forest Service’s Alaska Region,
                                                                          10
                                                                               regarding the State’s need for a transportation and utility corridor connecting Ketchikan
                                                                          11
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                                                                               to the North American highway system and electric utility grid by way of the Bradfield
                                                                          12
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                                                                          13   Canal (then referred to as the “Bradfield Corridor”). Those discussions lead to an idea

                                                                          14   for a congressionally approved equal value exchange of easements, where the Forest
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                                                                          15
                                                                               Service would receive easements for its infrastructure located on state-owned
                                                                          16
                                                                               submerged lands in exchange for the transportation and utility easement needed by the
                                                                          17
                                                                               State.
                                                                          18

                                                                          19            14.   The corridor linking the Ketchikan road system to Shelter Cove is the

                                                                          20   southernmost portion of the Bradfield Corridor that links Ketchikan to the North
                                                                          21   American highway system and electric utility grid.
                                                                          22
                                                                                        15.   During the fall and early winter of 2003, the discussions between the
                                                                          23
                                                                               Forest Service and the State expanded to include locations throughout Southeast Alaska
                                                                          24
                                                                               where easements were necessary to accommodate existing infrastructure and access
                                                                          25

                                                                          26   requirements across the intermingled state and federal lands. The Forest Service’s

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                                                                           1   Alaska Region Geometronics Group collected information regarding the bays, inlets and
                                                                           2
                                                                               other waterways where the Forest Service required permanent access rights, and
                                                                           3
                                                                               collected information regarding the transportation and utility corridors required by the
                                                                           4
                                                                               State. The Geometronics Group drew the approximate locations of the easements
                                                                           5

                                                                           6   intended for exchange onto the Forest Service’s base map for the Tongass National

                                                                           7   Forest.
                                                                           8             16.   On January 22, 2004 the Parties finalized the map of approximate
                                                                           9
                                                                               locations of existing and proposed facilities for a reciprocal easement exchange. The
                                                                          10
                                                                               Parties never intended that the map would be used to depict actual locations of any
                                                                          11
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                                                                               particular facility, nor did the Parties intend that the map would be used to demarcate
                                                                          12
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                                                                          13   easement boundaries. The January 22, 2004 map includes a disclaimer evidencing the

                                                                          14   Parties’ common understanding of the depicted locations of the easements intended for
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                                                                          15
                                                                               reciprocal exchange: “Boundaries and locations are approximate. This map should not
                                                                          16
                                                                               be used or interpreted for legal or administrative actions.”
                                                                          17
                                                                                         17.   The Forest Service Alaska Region’s Director of Engineering prepared the
                                                                          18

                                                                          19   first draft of the proposed legislation to exchange easements, dated January 15, 2004,

                                                                          20   and presented the proposed legislation and the January 22, 2004 map to each member of
                                                                          21   the Alaska congressional delegation on March 16, 2005. That draft of the legislation
                                                                          22
                                                                               described the process for determining the location of highway infrastructure as:
                                                                          23
                                                                                               a)    The Forest Service would issue a right of entry permit over
                                                                          24
                                                                               National Forest System lands for the State of Alaska to determine a suitable and
                                                                          25

                                                                          26   constructible location for the facility; and

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                                                                           1                 b)        The Forest Service would issue a perpetual easement for operation
                                                                           2
                                                                               and maintenance of the infrastructure upon the State providing an as-built survey of the
                                                                           3
                                                                               constructed facility.
                                                                           4
                                                                                      18.    From March 2005 through June 2005, the Forest Service and the State of
                                                                           5

                                                                           6   Alaska continued to revise the proposed legislation, with each draft getting

                                                                           7   progressively shorter. The key provisions for locating transportation facilities and
                                                                           8   transferring highway easements remained consistent:
                                                                           9
                                                                                             a)        The location of the highway facility would be jointly agreed upon
                                                                          10
                                                                               by the Parties; and
                                                                          11
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                                                                                             b)        The provisions of the National Environmental Policy Act
                                                                          12
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                                                                          13   (“NEPA”) and the Alaska National Interest Land Conservation Act would not apply to

                                                                          14   the Forest Service’s transfer of the easements.
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                                                                          15
                                                                                      19.    On July 1, 2005, the Parties’ further refined proposed legislation was
                                                                          16
                                                                               forwarded by AKDOT’s Commissioner to the Alaska congressional delegation for
                                                                          17
                                                                               incorporation into the pending highway funding bill. The proposed legislation
                                                                          18

                                                                          19   referenced and included the agreed upon map of the log transfer facilities, marine access

                                                                          20   points, and transportation and utility corridors that required a reciprocal exchange of
                                                                          21   easements. The map delivered to the Alaska delegation on July 1, 2005 was dated
                                                                          22
                                                                               June 15, 2005.
                                                                          23
                                                                                      20.    On July 14, 2005, the Parties were notified by the chief of staff for the
                                                                          24
                                                                               U.S. House Committee on Transportation and Infrastructure that the legislation for the
                                                                          25

                                                                          26   intended exchange of easements was being modified by the congressional committee to

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                                                                           1   reflect the immediate exchange of easements effective upon enactment by Congress.
                                                                           2
                                                                               Shortly thereafter the Parties were similarly notified that the legislation would only
                                                                           3
                                                                               reference the land exchange map, which would be labeled Map Number 92337. Those
                                                                           4
                                                                               congressional modifications became the final language of SAFETEA-LU § 4407:
                                                                           5

                                                                           6   “Notwithstanding any other provision of law, the reciprocal rights-of-way and

                                                                           7   easements identified on map numbered 92337 and dated June 15, 2005, are hereby
                                                                           8   enacted into law.”
                                                                           9
                                                                                         21.   On August 10, 2005, with the enactment of SAFETEA-LU § 4407,
                                                                          10
                                                                               Congress redrew the map of the Tongass National Forest to incorporate transportation
                                                                          11
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                                                                               and utility easements connecting the communities of Southeast Alaska and to expand
                                                                          12
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                                                                          13   the perimeter of the National Forest by incorporating the reciprocally exchanged

                                                                          14   easements for federal-owned and operated log transfer facilities and marine access
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                                                                          15
                                                                               points.
                                                                          16
                                                                                         22.   Because the transportation and utility rights-of-way and easements were
                                                                          17
                                                                               established by Congress, the Forest Service does not have discretion to deny the
                                                                          18

                                                                          19   issuance of recordable documentation of an easement connecting the communities

                                                                          20   through the transportation or utility corridors identified in Map 92337. As the
                                                                          21   subservient estate holder, however, the Forest Service would be expected to participate
                                                                          22
                                                                               in the environmental and engineering analyses to properly locate and permit
                                                                          23
                                                                               transportation and utility facilities to connect the communities of Southeast Alaska.
                                                                          24

                                                                          25

                                                                          26

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                                                                           1                         SECTION 4407 MOU TO EFFECTUATE
                                                                                                        THE EASEMENT EXCHANGE
                                                                           2

                                                                           3          23.    In 2006, the Parties developed a memorandum of understanding (“the

                                                                           4   Section 4407 MOU”) to create a framework and process for transferring the easements
                                                                           5   established in SAFETEA-LU § 4407. The State of Alaska Department of Natural
                                                                           6
                                                                               Resource (“AKDNR”), as the manager of the state-owned submerged lands, also
                                                                           7
                                                                               participated in the development of and is a signatory to the Section 4407 MOU.
                                                                           8

                                                                           9
                                                                               I.     Marine access points.

                                                                          10          24.    The Section 4407 MOU provided a blanket authorization allowing the

                                                                          11   Forest Service to construct, operate and maintain each of the 231 marine access points
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                                                                          12
                                                                               listed on Map 92337. With the exception of limited commercial activities that would
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                                                                          13
                                                                               still require individual AKDNR authorizations, the Section 4407 MOU also authorized
                                                                          14
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                                                                               perpetual public use of and access over the state-owned tidelands at each of the marine
                                                                          15

                                                                          16   access points. Thus, upon the signing of the Section 4407 MOU, the Forest Service was

                                                                          17   provided perpetual use and easement rights at the 231 listed locations.
                                                                          18
                                                                               II.    Log transfer facilities.
                                                                          19
                                                                                      25.    The Section 4407 MOU established a process for AKDNR to review
                                                                          20
                                                                               Forest Service easement applications for individual log transfer facilities. The Section
                                                                          21

                                                                          22
                                                                               4407 MOU also included a template easement for log transfer facilities that details the

                                                                          23   agreed upon terms and conditions for use of the state-owned lands as well as requiring

                                                                          24   surveyed diagrams of the constructed improvements for AKDNR’s issuance of
                                                                          25
                                                                               recordable documentation. The Forest Service requested and received easement
                                                                          26

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                                                                           1   documentation for its 66 existing log transfer facilities listed on Map 92337, and may
                                                                           2
                                                                               still request documentation of its easements for the 60 listed log transfer facilities
                                                                           3
                                                                               intended for development and use in future silviculture activities.
                                                                           4
                                                                                        26.   The Forest Service received the benefit of the State’s timely
                                                                           5

                                                                           6   authorizations for the Forest Service’s perpetual use of state-owned lands at all

                                                                           7   requested marine access points (231 sites) and at all log transfer facilities requested by
                                                                           8   the Forest Service (66 sites).
                                                                           9
                                                                                        27.   The State of Alaska did not condition the issuance of easements over the
                                                                          10
                                                                               submerged lands underlying the Forest Service’s log transfer facilities and marine
                                                                          11
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                                                                               access points on proof that each facility’s location was accurately depicted on Map
                                                                          12
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                                                                          13   92337.

                                                                          14            28.   The Forest Service took full advantage of Section 4407’s
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                                                                          15
                                                                               “notwithstanding” provision and accepted the hundreds of easements across state-
                                                                          16
                                                                               owned land—expanding the perimeter of the Tongass National Forest and vastly
                                                                          17
                                                                               increasing the number of places where the public could lawfully access federal lands in
                                                                          18

                                                                          19   perpetuity—without the Forest Service performing individual or programmatic NEPA

                                                                          20   reviews or issuing NEPA decisions on the potential effects of incorporating the
                                                                          21   transferred property rights.
                                                                          22
                                                                               III.     Transportation and utility corridors
                                                                          23
                                                                                        29.   The Section 4407 MOU established a two-stage process for transferring
                                                                          24
                                                                               easements for transportation and utility infrastructure to connect the communities of
                                                                          25

                                                                          26   Southeast Alaska. In the first stage, environmental studies and design work are

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                                                                           1   performed under an easement authorizing AKDOT to conduct survey and engineering
                                                                           2
                                                                               activities anywhere within a mile-wide corridor to determine a feasible location for the
                                                                           3
                                                                               entire length of the facility. Once a feasible location for the transportation or utility
                                                                           4
                                                                               facility is determined, based on environmental, geotechnical, fiscal, and constructability
                                                                           5

                                                                           6   factors, the second stage of work is authorized under a separate easement that authorizes

                                                                           7   construction, operation and maintenance of the facility in a precisely defined and fixed
                                                                           8   highway right-of-way.
                                                                           9
                                                                                      30.    This two-stage process is standard practice for developing transportation
                                                                          10
                                                                               and utility infrastructure through areas without roads. This two-stage process is also
                                                                          11
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                                                                               recognized in the Forest Service Handbook (FSH 7709.56, Section 20) as the method to
                                                                          12
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                                                                          13   locate roads on National Forest System lands. When no specific information such as

                                                                          14   detailed topographic, geotechnical or environmental data is available at the time of the
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                                                                          15
                                                                               establishment of a transportation or utility corridor, the two-stage process is the only
                                                                          16
                                                                               rational method to convey sufficient property rights to determine an acceptable location
                                                                          17
                                                                               and then to construct and operate the new facility.
                                                                          18

                                                                          19          31.    The Section 4407 MOU’s paragraph D(1) directs the Forest Service to

                                                                          20   issue easements authorizing AKDOT “to conduct engineering and all other activities
                                                                          21   necessary or incident to highway and utility planning, design and environmental review
                                                                          22
                                                                               processes.” The recordable easement documentation that authorizes planning activities
                                                                          23
                                                                               (commonly referred to as the D-1 easement) was pre-negotiated and was included as an
                                                                          24
                                                                               attachment to the Section 4407 MOU. The location of the corridors described in each
                                                                          25

                                                                          26   D-1 easement roughly coincide with the corridors connecting the communities of

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                                                                           1   Southeast Alaska as depicted on Map 92337, though paragraph D(1) makes clear that
                                                                           2
                                                                               Map 92337 “is intended, in part, to identify the servient estate” and not the location of
                                                                           3
                                                                               any future facility. Paragraph D(1) further directs that each D-1 easement identify the
                                                                           4
                                                                               square-mile quadrangle sections for the servient estate where planning activities may
                                                                           5

                                                                           6   occur, and recognizes that the location of the easement will be further refined and

                                                                           7   detailed by the Parties during the course of the authorized highway and utility planning,
                                                                           8   design, and environmental review processes.
                                                                           9
                                                                                      32.    The Section 4407 MOU’s template D-1 easement provides a space for the
                                                                          10
                                                                               narrative description of the specific square-mile sections from the United State
                                                                          11
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                                                                               Geological Survey quadrangle maps where planning work is authorized. The template
                                                                          12
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                                                                          13   D-1 easement restricts planning activities to an approximate 300-foot width within the

                                                                          14   identified square-mile sections, which is intended to minimize effects to the National
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                                                                          15
                                                                               Forest by limiting clearing for sight line surveys, geotechnical investigations, and other
                                                                          16
                                                                               engineering or environmental activities to the approximate width of the final easement
                                                                          17
                                                                               for construction.
                                                                          18

                                                                          19          33.    The D-1 easements were intended to replace Forest Service right of entry

                                                                          20   permits and special use permits that would be necessary for these same environmental
                                                                          21   and engineering investigations. Under the authority of a D-1 easement, AKDOT could
                                                                          22
                                                                               clear brush for surveys and geotechnical investigations within 150 feet of either side of
                                                                          23
                                                                               a proposed highway centerline located anywhere within the one-mile sections identified
                                                                          24
                                                                               in the D-1 easement. The Parties’ communications refer to this concept as a “floating
                                                                          25

                                                                          26   easement.”

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                                                                           1          34.    In 2009 and 2010 the Forest Service issued D-1 easements for all of the
                                                                           2
                                                                               transportation and utility corridors identified on Map 92337, with the exception of the
                                                                           3
                                                                               East Lynn Canal corridor. An easement was issued for an East Lynn Canal facility
                                                                           4
                                                                               under authority of 23 U.S.C. § 317 while the Section 4407 MOU was being negotiated.
                                                                           5

                                                                           6   Since the Section 4407 corridors were established by Congress, there was no Forest

                                                                           7   Service discretionary decision and no Forest Service NEPA obligations for the Forest
                                                                           8   Service’s issuance of the D-1 easements.
                                                                           9
                                                                                      35.    The second stage of the Section 4407 MOU process for issuing
                                                                          10
                                                                               documentation of the transportation and utility easements is described in the Section
                                                                          11
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                                                                               4407 MOU’s paragraph D(2). That paragraph directs the Forest Service to issue an
                                                                          12
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                                                                          13   easement (commonly referred to as the D-2 easement) authorizing AKDOT’s

                                                                          14   construction, reconstruction, operation and maintenance of a road or utility where the
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                                                                          15
                                                                               location of the road or utility is agreed to by the Parties in the course of the planning
                                                                          16
                                                                               process conducted under the D-1 easement. The pre-negotiated template D-2 easement,
                                                                          17
                                                                               which is an attachment to the Section 4407 MOU, details the state and federal
                                                                          18

                                                                          19   environmental permits and approvals that must be obtained prior to the State

                                                                          20   commencing construction under a D-2 easement for any particular facility.
                                                                          21          36.    Paragraph 9 of the D-2 easement embodies the Parties’ intent that the
                                                                          22
                                                                               Forest Service, as the federal land manager and servient estate holder, be given the
                                                                          23
                                                                               opportunity to directly participate in the location of any facility by reviewing the
                                                                          24
                                                                               construction plans for the proposed highway or utility to assess potential effects upon
                                                                          25

                                                                          26   National Forest System lands and resources. Paragraph 9 requires that the Parties

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                                                                           1   mutually agree upon the design features of the facility during the preparation of plans
                                                                           2
                                                                               and specifications for each project, and includes the requirement that “the plans shall be
                                                                           3
                                                                               revised, modified, or supplemented to meet the approval of the Regional Forester.” In
                                                                           4
                                                                               2014, the Forest Service reinterpreted that phrase to disregard SAFETEA-LU § 4407’s
                                                                           5

                                                                           6   establishment of the easements “notwithstanding any other provision of law” and

                                                                           7   unilaterally imposed a condition that D-2 easements would not be issued without a
                                                                           8   Forest Service NEPA decision showing full compliance with all Forest Service road
                                                                           9
                                                                               construction limitations and prohibitions.
                                                                          10
                                                                                      37.    In the context of the State’s repeated requests that the Forest Service
                                                                          11
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                                                                               deliver the D-2 easement for Shelter Cove Road project, and in the context of
                                                                          12
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                                                                          13   congressional inquiries regarding the Forest Service’s delays in issuing that easement,

                                                                          14   the Forest Service’s Regional Forester explained that the review of the State’s
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                                                                          15
                                                                               development plans under the paragraph 9 of the D-2 easement would require a
                                                                          16
                                                                               discretionary decision from the Forest Service and that discretionary decision would
                                                                          17
                                                                               require the Forest Service to demonstrate full compliance with NEPA.
                                                                          18

                                                                          19          38.    The terms and conditions of the Section 4407 MOU’s template D-2

                                                                          20   easement were drafted by the Parties between mid-June and September 2006, and the
                                                                          21   Parties’ common understanding of the effect of any Forest Service review and approval
                                                                          22
                                                                               of a project’s plans and specifications under the D-2 easement’s paragraph 9 was
                                                                          23
                                                                               solidified on August 3, 2006.
                                                                          24
                                                                                      39.    On July 3, 2006, the State’s Assistant Attorney General (AAG)
                                                                          25

                                                                          26   recommended revisions to paragraph 9 that would replace all references to a Forest

                                                                               SOA v. USFS and Beth Pendleton                                         1:16-cv-00018-SLG
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                                                                           1   Service opportunity to “approve” plans and specifications with references to the Forest
                                                                           2
                                                                               Service’s opportunity to “review” plans and specifications. In furtherance of the goal to
                                                                           3
                                                                               clarify that the issuance of a D-2 easement was a non-discretionary act by the Forest
                                                                           4
                                                                               Service, on July 3, 2006 the State’s AAG proposed additional language for the draft
                                                                           5

                                                                           6   Section 4407 MOU’s paragraph D(3) that read:

                                                                           7                Granting of the D-2 easement is primarily in the nature of a
                                                                                            ministerial task, and every presumption shall be made in favor of
                                                                           8                granting the D-2 easement consistent with the spirit and intent of
                                                                           9
                                                                                            Section 4407 of Public Law 109-59 which established a right-of-
                                                                                            way corridor subject to no conditions and ‘notwithstanding any
                                                                          10                other provision of law.’

                                                                          11         40.    On August 3, 2006 the Forest Service delivered a revised draft template
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                                                                          12
                                                                               D-2 easement that rejected the State’s proposed revision to paragraph 9, with an
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                                                                          13
                                                                               explanatory statement from the Office of General Counsel (OGC) attorney:
                                                                          14
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                                                                                            In ¶ 9, we had been tweaking the language quite a bit because of
                                                                          15
                                                                                            the State’s concerns about FS discretion. However, it occurred to
                                                                          16                me that the original language [the language of the final paragraph
                                                                                            9] is appropriate, as it is the language in the standard USDOT
                                                                          17                easement [an easement issued under 23 U.S.C. 317] that the State
                                                                                            normally receives.
                                                                          18

                                                                          19         41.    At that time, the Parties recently completed the preparation and issuance

                                                                          20   of an easement, pursuant to the requirements of 23 U.S.C. 317, for the State’s project
                                                                          21   located in the Section 4407 transportation and utility corridor along East Lynn Canal.
                                                                          22
                                                                               The Forest Service participated in the environmental review and final location of the
                                                                          23
                                                                               highway project located in East Lynn Canal corridor, and issued an easement for the
                                                                          24
                                                                               project under 23 U.S.C. 317, without preparing a NEPA analysis or decision.
                                                                          25

                                                                          26

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                                                                           1          42.    In reliance upon the August 3, 2006 statement by the Forest Service’s
                                                                           2
                                                                               OGC attorney, the State did not insist upon additional clarifications in paragraph 9 of
                                                                           3
                                                                               the template D-2 easement, and in paragraph D(3) of the draft Section 4407 MOU, to
                                                                           4
                                                                               formalize the Parties’ common understanding that the Forest Service’s review and
                                                                           5

                                                                           6   approval of a project’s plans and specifications was not a discretionary decision and

                                                                           7   would not trigger the need for a NEPA review and decision by the Forest Service.
                                                                           8          43.    The Section 4407 MOU was finalized and signed by the Parties in
                                                                           9
                                                                               September 2006 without any modification to the template D-2 easement’s paragraph 9.
                                                                          10
                                                                               Thus, the Parties rejected the proposed introduction of a discretionary Forest Service
                                                                          11
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                                                                               decision into the Section 4407 MOU.
                                                                          12
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                                                                          13          44.    The Section 4407 MOU and its template D-2 easement makes no mention

                                                                          14   of NEPA, though the template D-2 requires a proposed project to be in compliance with
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                                                                          15
                                                                               nine specifically identified federal laws.
                                                                          16
                                                                                      45.    The Forest Service never requested, and the State never agreed to, a
                                                                          17
                                                                               waiver from SAFETEA-LU § 4407’s “notwithstanding any other provision of law”
                                                                          18

                                                                          19   clause that exempted the Forest Service’s review and approval of the location of a

                                                                          20   proposed transportation or utility facility from any NEPA review or decision.
                                                                          21                        THE PARTIES’ PLANNING ACTIVITIES
                                                                          22
                                                                                                         FOR SHELTER COVE ROAD

                                                                          23          46.    As far back as 1997, the Forest Service’s Tongass National Forest Land

                                                                          24   and Resource Management Plan (“Forest Plan”) set management goals and guidelines
                                                                          25
                                                                               for a future public transportation and utility system connecting Ketchikan to Shelter
                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                         1:16-cv-00018-SLG
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                                                                           1   Cove and beyond. The 1997 Forest Plan’s maps depict the transportation corridor
                                                                           2
                                                                               linking Ketchikan to Shelter Cove in the same location as the corridor depicted in
                                                                           3
                                                                               Map 92337, though there was no field work done to locate a road or utility in that
                                                                           4
                                                                               corridor prior to the production of the 1997 maps.
                                                                           5

                                                                           6          47.    In early 2004, the State of Alaska and the Forest Service specifically

                                                                           7   discussed the development of a road (then called the Revilla Road) connecting the
                                                                           8   Ketchikan road system to the Forest Service road system at Shelter Cove. By that time,
                                                                           9
                                                                               wetland mapping and preliminary geotechnical work were performed to more precisely
                                                                          10
                                                                               locate a potential transportation and utility alignment.
                                                                          11
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                                                                                      48.    In parallel with the Parties’ development of the map of proposed
                                                                          12
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                                                                          13   easements to be exchanged in and around the Tongass National Forest, in August 2004

                                                                          14   the State completed its Southeast Alaska Transportation Plan (“SATP”) detailing the
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                                                                          15
                                                                               State’s plan to connect the communities of Southeast Alaska to each other and to the
                                                                          16
                                                                               North American highway system. The SATP corridors and the SAFETEA-LU § 4407
                                                                          17
                                                                               corridors are virtually identical. The transportation and utility corridor connecting
                                                                          18

                                                                          19   Ketchikan to Canada is identified as the Revillagigedo Highway in the SATP and

                                                                          20   follows the same route as the Bradfield Corridor earlier identified by the Parties in the
                                                                          21   easement exchange discussions.
                                                                          22
                                                                                      49.    In 2008, after the passage of SAFETEA-LU § 4407, the Forest Service
                                                                          23
                                                                               issued an entirely new Forest Plan that incorporated the SATP and the SAFETEA-LU
                                                                          24
                                                                               § 4407 corridors into the Forest Service management plan as a Transportation and
                                                                          25

                                                                          26   Utility Systems (TUS) Land Use Designation (LUD). Under the guidelines of the

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                                                                           1   2008 Forest Plan, the TUS LUD remains a dormant land use prescription until a
                                                                           2
                                                                               transportation or utility project is permitted and ready for construction, at which time
                                                                           3
                                                                               the TUS LUD springs into existence and supersedes the underlying land management
                                                                           4
                                                                               prescriptions within the narrow boundary of the transportation or utility easement issued
                                                                           5

                                                                           6   for the project.

                                                                           7          50.     In the 2008 Forest Plan map, the TUS LUD connecting Ketchikan to
                                                                           8   Shelter Cove depicts two possible transportation routes to connect the Ketchikan road
                                                                           9
                                                                               system to the existing Shelter Cove Road; a potential electrical transmission line route is
                                                                          10
                                                                               also depicted as running in the same general direction but to the north of both potential
                                                                          11
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                                                                               transportation routes. The northerly of the two transportation routes (“the high route”)
                                                                          12
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                                                                          13   passes through the congressionally designated wilderness area encompassing the Naha

                                                                          14   River drainage (“the Naha LUD II”), and the southerly route (“the low route”) parallels
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                                                                          15
                                                                               George Inlet and connects to the existing Shelter Cove Road north of the Salt Lagoon.
                                                                          16
                                                                               The two transportation routes from the 2008 Forest Plan were the two principle routes
                                                                          17
                                                                               considered in the development of the State’s Shelter Cove Road project (See Exhibit 1
                                                                          18

                                                                          19   for locations of high and low routes).

                                                                          20          51.     The 2008 Forest Plan includes an errata for its maps that states in part:
                                                                          21                  The Tongass Forest Plan LUDs were developed using small-scale
                                                                          22
                                                                                              Tongass-wide Forest maps … The level of accuracy of a map at
                                                                                              such at such a scale is approximately ± 500 feet … It is the role of
                                                                          23                  the subsequent project planning to resolve, within the overall intent
                                                                                              of the Forest Plan mapped LUDs, the actual location of activities
                                                                          24                  on the ground.
                                                                          25

                                                                          26

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                                                                           1          52.    SAFETEA-LU § 4407’s Map 92337 also was created by using the
                                                                           2
                                                                               Tongass-wide Forest map as a base, and therefore has the same scale as the 2008 Forest
                                                                           3
                                                                               Plan map.
                                                                           4
                                                                                      53.    In January of 2009, when choosing a route for the Shelter Cove Road D-1
                                                                           5

                                                                           6   easement, the State and the Forest Service considered the high route and the low route.

                                                                           7   The Parties also considered the potential development of a two-mile logging road on
                                                                           8   Alaska Mental Health Trust property that would connect the high route to the low route
                                                                           9
                                                                               at the approximate mid-point of both routes; using the two-mile connector road, road
                                                                          10
                                                                               planners had two additional corridor options by transferring the road to the alternate
                                                                          11
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                                                                               alignment at the midway point—the high-low route and the low-high route (See
                                                                          12
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                                                                          13   Exhibit 1 for the location of the connecting logging road).

                                                                          14          54.    The Parties agreed upon a D-1 easement to further study and attempt to
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                                                                          15
                                                                               locate a road on a variant of the high route, as a segment of the road corridor followed a
                                                                          16
                                                                               length of the power transmission corridor depicted in the 2008 Forest Plan. The route
                                                                          17
                                                                               depicted on the D-1 easement became commonly referred to as the high-high route
                                                                          18

                                                                          19   since it did not change course at the midpoint logging road.

                                                                          20          55.    The D-1 easement for the Shelter Cove Road was recorded on
                                                                          21   February 26, 2009 and contains a narrative description of the contiguous square-mile
                                                                          22
                                                                               quadrangle sections where planners believed they could locate a road on the high-high
                                                                          23
                                                                               route. The D-1 easement effectuates the concept of the floating easement by limiting
                                                                          24
                                                                               engineering and other activities to an approximate 300-foot-wide right-of-way, but not
                                                                          25

                                                                          26

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                                                                           1   fixing the location of that 300-foot-wide right-of-way anywhere within the narrative
                                                                           2
                                                                               description of the square-mile sections where the planning work is authorized.
                                                                           3
                                                                                      56.    The final alignment for the State’s Shelter Cove Road project traverses
                                                                           4
                                                                               over a single mile stretch of National Forest System lands, which is located within two
                                                                           5

                                                                           6   of the square-mile sections listed in the narrative description of the 2009 D-1 easement.

                                                                           7   The two sections, which are commonly referred to by the Parties as Section 8 and
                                                                           8   Section 17, are fully described in the D-1 easement’s narrative description as Sections 8
                                                                           9
                                                                               and 17, Township 73, and Range 92, located South and East of the Cooper River
                                                                          10
                                                                               Meridian (See Exhibit 1 for the location of Sections 8 and 17).
                                                                          11
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                                                                                      57.    In the years from 2010 through 2013, the State compared and evaluated
                                                                          12
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                                                                          13   potential impacts to the Tongass National Forest and to cultural, archeological,

                                                                          14   environmental and other sensitive resources from the four potential alternative
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                                                                          15
                                                                               alignments. As early as 2011 it was becoming increasingly obvious that the
                                                                          16
                                                                               development of the low-low route along George Inlet would result in the least
                                                                          17
                                                                               environmental impact among the four alternative routes. However, development of the
                                                                          18

                                                                          19   low-low route would require the purchase of private roads and rights-of-way from the

                                                                          20   Cape Fox Corporation and the Alaska Mental Health Trust (See Exhibit 1 for locations
                                                                          21   of privately held properties).
                                                                          22
                                                                                      58.    In early 2012 the Parties began earnest discussions about shifting the
                                                                          23
                                                                               Shelter Cove Road alignment from the high-high route identified in the 2009 D-1
                                                                          24
                                                                               easement to the low-low route along George Inlet. Since the newly proposed alignment
                                                                          25

                                                                          26

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                                                                           1   would be located mostly on private land, the shifting of the alignment on National
                                                                           2
                                                                               Forest System land would only occur in Sections 8 and 17.
                                                                           3
                                                                                     59.    In May of 2012, the Parties met to confirm their understandings of
                                                                           4
                                                                               whether the proposed realignment in Sections 8 and 17 was an authorized action under
                                                                           5

                                                                           6   the Section 4407 MOU. This was, after all, the first transportation project developed

                                                                           7   under the requirements of the Section 4407 MOU and under the authority of a D-1
                                                                           8   easement. Those discussions culminated in a letter dated May 11, 2012 from AKDOT’s
                                                                           9
                                                                               Regional Director to the Forest Service’s Tongass Forest Supervisor confirming the
                                                                          10
                                                                               Parties’ common understanding that the Section 4407 MOU authorizes the transfer of a
                                                                          11
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                                                                               300-foot-wide D-2 easement for the construction and operation of the Shelter Cove
                                                                          12
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                                                                          13   Road located anywhere within the square mile sections identified in the project’s D-1

                                                                          14   easement.
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                                                                          15
                                                                                     60.    Upon the confirmation of the Parties’ mutual understanding, the State
                                                                          16
                                                                               moved to complete the Reconnaissance Report for the Shelter Cove Road project. The
                                                                          17
                                                                               August 2012 Reconnaissance Report explained and recommended the development of
                                                                          18

                                                                          19   Alternative II—the low-low route—because construction on that route would result in

                                                                          20   the least environmental impact. The Reconnaissance Report also acknowledged that the
                                                                          21   federal environmental review for the project would be conducted by the United States
                                                                          22
                                                                               Army Corps of Engineers in the context of the Clean Water Act permitting process, as
                                                                          23
                                                                               the required easement over National Forest System lands would be issued under the
                                                                          24
                                                                               authority of SAFETEA-LU § 4407.
                                                                          25

                                                                          26

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                                                                           1          61.    Upon the confirmation of the Parties’ mutual understanding that a road
                                                                           2
                                                                               could be located within Sections 8 and 17 under the authority of SAFETEA-LU § 4407,
                                                                           3
                                                                               the State also commenced negotiations for the purchase of the private roads and rights-
                                                                           4
                                                                               of-way from Cape Fox Corporation and the Alaska Mental Health Trust. Purchase
                                                                           5

                                                                           6   agreements for those properties were executed on January 7, 2013 ($2,500,000) and

                                                                           7   May 28, 2013 ($127,280), respectively, and committed the State to permitting and
                                                                           8   constructing the road on the low-low route.
                                                                           9
                                                                                      62.    Throughout 2013 the State worked with state and federal permitting
                                                                          10
                                                                               agencies to fine tune the low-low route alignment in order to avoid or minimize possible
                                                                          11
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                                                                               environmental effects. The fine tuning of the alignment included shifting the proposed
                                                                          12
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                                                                          13   road centerline 1000 feet, at the Forest Service’s request, to avoid impacts to a stream

                                                                          14   on National Forest System lands. By the end of 2013, the State settled upon a road
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                                                                          15
                                                                               alignment that would receive approvals from all state and federal permitting agencies.
                                                                          16
                                                                                      63.    On December 23, 2013, the State sent to the Forest Service the plans,
                                                                          17
                                                                               drawings and specifications for the proposed Shelter Cove Road for the Forest Service’s
                                                                          18

                                                                          19   review and processing of the D-2 easement in accordance with the terms of the

                                                                          20   Section 4407 MOU. Little did the State know that within three months the Forest
                                                                          21   Service would take a diametrically opposed position regarding the Parties’ mutual
                                                                          22
                                                                               development and understandings of the project up to that point.
                                                                          23

                                                                          24

                                                                          25

                                                                          26

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                                                                           1                   THE FOREST SERVICE’S REINTERPRETATION
                                                                                                      OF THE SECTION 4407 MOU
                                                                           2

                                                                           3          64.    On February 11, 2014, the Forest Service recorded a corrected D-1

                                                                           4   easement for planning activities in the Shelter Cove Road corridor. The original D-1
                                                                           5   easement authorized activities along a small segment of the proposed utility alignment
                                                                           6
                                                                               identified in the 2008 TUS LUD, which in 2009 appeared to be the most feasible road
                                                                           7
                                                                               alignment; the corrected D-1 easement adjusted the planning corridor to better reflect
                                                                           8

                                                                           9
                                                                               the Shelter Cove Road corridor as shown in the 1997 Tongass Plan and as depicted in

                                                                          10   Map 92337. The narrative description of the easement corridor in the 2014 corrected

                                                                          11   D-1 easement still included Sections 8 and 17 which, as previously agreed to by the
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                                                                          12
                                                                               Parties, would allow the transfer of a D-2 easement to complete the State’s realignment
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                                                                          13
                                                                               onto non-federal lands for the low-low alternative route. Unbeknownst to the State at
                                                                          14
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                                                                               that time, the graphic depiction attached to the corrected D-1 easement also included a
                                                                          15

                                                                          16   notation in the map’s legend that reads: “300 Feet Easement Buffer”. On the map, the

                                                                          17   newly depicted ‘easement buffer’ straddles the line intended to show the general
                                                                          18   location and direction of the transportation and utility corridor.
                                                                          19
                                                                                      65.    Shortly thereafter, on March 21, 2014, the Forest Service’s Regional
                                                                          20
                                                                               Forester sent a letter to the State’s commissioners for AKDOT and AKDNR stating that
                                                                          21

                                                                          22
                                                                               “there may be differing assumptions and interpretations of the [Section 4407] MOU

                                                                          23   language.” The letter explained the Forest Service’s assumption and interpretation that

                                                                          24   “where National Forest System lands outside of the 300 feet provided in the D-1
                                                                          25

                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                        1:16-cv-00018-SLG
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                                                                           1   easement are needed for planning purposes, that need may be accommodated through
                                                                           2
                                                                               issuance of a special use permit.”
                                                                           3
                                                                                      66.     The Forest Service’s March 21, 2014 correspondence functioned as a
                                                                           4
                                                                               declaration that the State’s D-1 planning easements would no longer float within the
                                                                           5

                                                                           6   identified square-mile sections to allow for engineering and environmental

                                                                           7   investigations but, rather, would be fixed to within 150 feet of either side of the line
                                                                           8   drawn on each D-1 easement attachment. The purpose of the line drawn on the map
                                                                           9
                                                                               attached to each D-1 easement was to show the approximate route of a future
                                                                          10
                                                                               transportation or utility system, within the square-mile sections listed in each D-1
                                                                          11
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                                                                               easement, to inform readers that may be unable to read or understand the narrative legal
                                                                          12
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                                                                          13   description of the planning corridor.

                                                                          14          67.     The Parties are fully aware that the Forest Service’s new assumptions and
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                                                                          15
                                                                               interpretations of the D-1 easement, which would only authorize planning activities in a
                                                                          16
                                                                               fixed and tightly constrained corridor, would prohibit the development of transportation
                                                                          17
                                                                               and utility infrastructure along the congressionally established corridors. The route
                                                                          18

                                                                          19   lines drawn on the D-1 easement maps cross lakes, pass over cliffs and other steep

                                                                          20   topography, and may unnecessarily impact cultural, archeological, environmental,
                                                                          21   wildlife or other sensitive resources since flexibility to adjust the alignment would be
                                                                          22
                                                                               limited to 150 feet in either direction of a centerline drawn without surveys, studies or
                                                                          23
                                                                               engineering.
                                                                          24

                                                                          25

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                                                                               SOA v. USFS and Beth Pendleton                                           1:16-cv-00018-SLG
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                                                                           1                          THE STATE’S DEMAND FOR THE
                                                                                                    SHELTER COVE ROAD D-2 EASEMENT
                                                                           2

                                                                           3         68.    On April 16, 2014, the State’s program managers in AKDOT and

                                                                           4   AKDNR met with the Forest Service, as the Forest Service’s new assumptions and
                                                                           5   interpretations had the potential for disrupting a number of infrastructure development
                                                                           6
                                                                               projects that were well underway. At that meeting, the Forest Service’s Director of
                                                                           7
                                                                               Ecosystem Planning and Budget (“EPB”) explained that SAFETEA-LU § 4407 was
                                                                           8

                                                                           9
                                                                               ambiguous as Congress used the verb “enacted” to consummate the reciprocal easement

                                                                          10   exchange rather than using the verb “granted.” Thus, as the Forest Service’s rationale

                                                                          11   was explained, no property interests were conveyed to the State pursuant to
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                                                                          12
                                                                               SAFETEA-LU § 4407. As explained by the Director of EPB, any use of National
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                                                                          13
                                                                               Forest System land outside the 300-foot-wide planning corridor would require a
                                                                          14
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                                                                               Forest Service NEPA analysis and decision and a showing of full compliance with all
                                                                          15

                                                                          16   federal laws and regulations administered by the Forest Service.

                                                                          17         69.    The Parties continued to meet through the spring and summer of 2014,
                                                                          18   with the State providing written analyses and documents from the Parties’ development
                                                                          19
                                                                               of the easement exchange legislation and the Section 4407 MOU to show that the Forest
                                                                          20
                                                                               Service’s new assumptions and interpretations were contrary to the Parties’ agreements.
                                                                          21

                                                                          22
                                                                               The only significant development coming from those meetings was a July 14, 2014

                                                                          23   announcement from the Forest Service’s Director of EPB that the Forest Service also

                                                                          24   intended to require a NEPA analysis and decision prior to the State conducting any
                                                                          25

                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                        1:16-cv-00018-SLG
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                                                                           1   further engineering or environmental planning activities within the boundaries of the
                                                                           2
                                                                               D-1 easements.
                                                                           3
                                                                                      70.    During the 2014 construction season, the Federal Highway Administration
                                                                           4
                                                                               completed major improvements to two federally owned and operated forest highways
                                                                           5

                                                                           6   (Kake to Seal Point Road and the North Prince of Wales Highway), which the State

                                                                           7   committed to accept upon completion of construction through D-2 easements
                                                                           8   transferring ownership and maintenance responsibilities of the facilities. The
                                                                           9
                                                                               Forest Service conditioned the transfer of the D-2 easements for the projects upon the
                                                                          10
                                                                               State’s concurrence with the Forest Service’s new assumptions and interpretations. The
                                                                          11
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                                                                               State refused the additional condition and the Forest Service did not issue the easements
                                                                          12
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                                                                          13   for the newly improved federal highways, leaving the newly improved federal highways

                                                                          14   without snow removal and other maintenance during the following winter.
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                                                                          15
                                                                                      71.    On June 12, 2015, following many written requests from the State and
                                                                          16
                                                                               inquiries by Congress, the Forest Service issued three D-2 easements. Two of the D-2
                                                                          17
                                                                               easements transferred responsibilities for the forest highways improved by the
                                                                          18

                                                                          19   Federal Highway Administration, and the third D-2 easement transferred responsibilities

                                                                          20   for the easternmost eight-mile section of the existing Shelter Cove Road.
                                                                          21          72.    The Forest Service unilaterally modified all three D-2 easements to
                                                                          22
                                                                               include an additional sentence not found in the Section 4407 MOU pre-negotiated
                                                                          23
                                                                               template D-2 easement’s Paragraph 9: “Review of any plans for new, additional, or
                                                                          24
                                                                               further earth disturbing activities for highway and utility projects within the easement
                                                                          25

                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                         1:16-cv-00018-SLG
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                                                                           1   area will be subject to appropriate compliance with the National Environmental Policy
                                                                           2
                                                                               Act.”
                                                                           3
                                                                                       73.   The Forest Service’s unilateral modification of the D-2 easement was
                                                                           4
                                                                               contrary to the congressional grant in SAFETEA-LU § 4407. Since the Section 4407
                                                                           5

                                                                           6   corridors were established by Congress “notwithstanding any other provision of law,”

                                                                           7   there is no Forest Service discretionary decision and no Forest Service NEPA obligation
                                                                           8   associated with the State’s use of the congressionally established transportation and
                                                                           9
                                                                               utility easement.
                                                                          10
                                                                                         CONGRESS’S CONSIDERATION OF THE FOREST SERVICE
                                                                          11                   ASSUMPTIONS AND INTERPRETATIONS
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                                                                          12
                                                                                       74.   On June 12, 2015, the Senate Environment and Public Works committee
                                    PO Box 110300, JUNEAU, ALASKA 99811




                                                                          13
                                                                               began consideration of a proposed amendment to Senate Bill 1647, the pending federal
                                                                          14
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                                                                               highway funding bill, which would amend SAFETEA-LU § 4407 to cure any Forest
                                                                          15

                                                                          16   Service perceived defect by striking the verb phrase “hereby enacted into law” and

                                                                          17   inserting the verb “granted”. The committee considered input from the Forest Service,
                                                                          18   the Federal Highway Administration, and the State over the course of the following
                                                                          19
                                                                               eight days.
                                                                          20
                                                                                       75.   On June 17, 2015, the Forest Service proposed a revision that would add a
                                                                          21

                                                                          22
                                                                               qualifying phrase to the proposed amendment: “consistent with the Memorandum of

                                                                          23   Understanding between the United States and the State of Alaska, Forest Service

                                                                          24   Agreement No. 06MU-11100100-151”. The Senate Committee on the Environment and
                                                                          25
                                                                               Public Works rejected the Forest Service’s proposed revision on June 20, 2015, as the
                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                        1:16-cv-00018-SLG
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                                                                           1   Forest Service’s proposal would introduce a condition to transfer (i.e., “consistent with
                                                                           2
                                                                               …”) when the transfer of easement rights had already taken place upon the original
                                                                           3
                                                                               enactment of SAFETEA-LU § 4407.
                                                                           4
                                                                                      76.    On June 23, 2015 Senate Bill 1647 was approved by the committee, with
                                                                           5

                                                                           6   the originally proposed amendment to Section 4407 to strike the verb phrase “hereby

                                                                           7   enacted into law” and insert the verb “granted”.
                                                                           8          77.    On July 15, 2015 the Senate’s Committee on the Environment and Public
                                                                           9
                                                                               Works published Report 114-80 that detailed the provisions of the highway bill. On
                                                                          10
                                                                               page 23 of that report the committee describes the intended effect of the amendment to
                                                                          11
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                                                                               SAFETEA-LU § 4407:
                                                                          12
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                                                                          13                 SAFETEA–LU established reciprocal easements in section 4407
                                                                                             between the United States Forest Service and the State of Alaska.
                                                                          14                 The technical amendment to this section cures a perceived defect
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                                                                                             and now will allow the exchange of all remaining reciprocal
                                                                          15
                                                                                             easements to continue. As soon as possible, the Committee intends
                                                                          16                 the Secretary of Agriculture (Secretary) to prepare and deliver to
                                                                                             the State of Alaska an easement for the construction and operation
                                                                          17                 of each highway located in a transportation and utility corridor
                                                                                             identified on Map 92337 where the State of Alaska has already
                                                                          18                 secured all necessary Federal and State permits for the construction
                                                                          19                 of each highway facility. The Secretary of Agriculture is
                                                                                             encouraged to participate as a cooperating agency in the
                                                                          20                 environmental analysis and permitting of the remaining State
                                                                                             highways to be located in Map 92337’s transportation and utility
                                                                          21                 corridors linking the communities of Southeast Alaska. The
                                                                          22
                                                                                             Committee intends that the Secretary of Agriculture will not
                                                                                             withhold or deny the issuance of an easement for a proposed
                                                                          23                 transportation or utility project that otherwise has all necessary
                                                                                             construction permits and authorizations from other State and
                                                                          24                 Federal agencies.
                                                                          25

                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                         1:16-cv-00018-SLG
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                                                                           1          78.    The 2015 federal highway funding bill passed Congress on
                                                                           2
                                                                               December 2, 2015 and was signed into law on December 4, 2015. The Senate
                                                                           3
                                                                               Environment and Public Works committee’s amendment to SAFETEA-LU remained
                                                                           4
                                                                               intact through the remainder of the legislative process and is now law.
                                                                           5

                                                                           6                      THE STATE’S FINAL REQUESTS FOR THE
                                                                                                   SHELTER COVE ROAD D-2 EASEMENT
                                                                           7
                                                                                      79.    On June 25, 2015, the State renewed its request for the D-2 easement for
                                                                           8

                                                                           9
                                                                               the mile-long road segment to connect the low-low construction alternative to the

                                                                          10   existing Shelter Cove Road. The State’s renewed request occurred just days after the

                                                                          11   Senate Committee on the Environment and Public Works rejected the Forest Service’s
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                                                                          12
                                                                               proposed revisions to SAFETEA-LU § 4407 and finalized the amendment that “cures a
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                                                                          13
                                                                               perceived defect and now will allow the exchange of all remaining reciprocal easements
                                                                          14
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                                                                               to continue.” The State’s renewed request for the D-2 easement included
                                                                          15

                                                                          16   documentation of the federal and state permits necessary for construction, which

                                                                          17   included the United States Army Corps of Engineers’ environmental assessment and
                                                                          18   decision in compliance with NEPA.
                                                                          19
                                                                                      80.    On July 16, 2015, the Forest Service’s Regional Forester responded to the
                                                                          20
                                                                               State’s renewed request with the decision:
                                                                          21

                                                                          22
                                                                                             [C]onsistent with my letter to Commissioners Joe Balash and
                                                                                             Patrick Kemp, dated March 21, 2014, which addressed the Forest
                                                                          23                 Service’s authority to issue easements where the alignment of the
                                                                                             State’s Shelter Cove project does not coincide with the rights-of-
                                                                          24                 way described in Section 4407 [assumed and interpreted as 300
                                                                                             feet wide]. It remains the position of the United States that a D-2
                                                                          25
                                                                                             easement for the segment of road within Section 17 is not
                                                                          26                 authorized under Section 4407.

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                                                                           1
                                                                               The Forest Service’s continuation of this narrow interpretation of the congressionally
                                                                           2

                                                                           3   granted easements came the day after the Senate issued its report on the amendment to

                                                                           4   Section 4407, which described the same easements very broadly as “Map 92337’s
                                                                           5   transportation and utility corridors linking the communities of Southeast Alaska.”
                                                                           6
                                                                                     81.    The Forest Service continued to refuse all requests for the transfer of the
                                                                           7
                                                                               D-2 easement documentation for the Shelter Cove Road project. The State of Alaska
                                                                           8

                                                                           9
                                                                               met with the Forest Service through the fall and winter of 2015-2016 to discuss the

                                                                          10   Forest Service’s new assumptions and interpretations of Section 4407, and the effect of

                                                                          11   Congress’s clarifications upon those assumptions and interpretations.
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                                                                          12
                                                                                     82.    On March 21, 2016 the Forest Service authorized construction of the
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                                                                          13
                                                                               State’s Shelter Cove Road project in Sections 8 and 17 pursuant to a special use permit.
                                                                          14
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                                                                               The permit notes that an easement authorizing operation and maintenance of the road
                                                                          15

                                                                          16   will be issued under the National Forest Roads and Trails Act (“FRTA”) upon

                                                                          17   presentation of as-built drawings of the completed facility. The State never applied for
                                                                          18   a special use permit or for a FRTA easement for the one-mile road segment that
                                                                          19
                                                                               traverses Sections 8 and 17.
                                                                          20
                                                                                     83.    Easements under FRTA require a discretionary decision by the Forest
                                                                          21

                                                                          22
                                                                               Service approving a proposed project’s compliance with all Forest Service

                                                                          23   requirements, including the road building prohibitions of the Roadless Rule, and require

                                                                          24   a NEPA decision document.
                                                                          25

                                                                          26

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                                                                           1          84.     The Forest Service Handbook (FSH 2709.12, Section 34) restricts the
                                                                           2
                                                                               width of FRTA easements to the limits of the slopes created in the cut-and-fill
                                                                           3
                                                                               construction of the public road, which is generally well under 100 feet wide. The
                                                                           4
                                                                               standard width for highway easements granted to a state from the federal government is
                                                                           5

                                                                           6   300 feet wide to ensure sufficient flexibility for the installation of utilities and to

                                                                           7   accommodate future expansion or safety improvements.
                                                                           8          85.     Easements issued under FRTA do not allow the construction or operation
                                                                           9
                                                                               of electrical transmission lines or other utilities.
                                                                          10
                                                                                      86.     Easements issued under FRTA break the continuity of the congressionally
                                                                          11
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                                                                               granted easements connecting the communities of Southeast Alaska to each other and to
                                                                          12
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                                                                          13   the North American road and utility systems.

                                                                          14               FIRST CAUSE OF ACTION—DECLARATORY RELIEF
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                                                                                 (Forest Service Interpretation of a Fixed 300-Foot-Wide Section 4407 Corridor)
                                                                          15

                                                                          16          87.     The State incorporates by reference all preceding paragraphs.

                                                                          17          88.     The Forest Service is incorrect in its assumption and interpretation that the
                                                                          18   SAFETEA-LU § 4407 transportation and utility corridors are a maximum width of 300
                                                                          19
                                                                               feet and fixed upon the unexamined and unsurveyed lines drawn by the Forest Service
                                                                          20
                                                                               in 2004 when the Parties prepared their legislative proposal for a reciprocal exchange of
                                                                          21

                                                                          22
                                                                               easements.

                                                                          23          89.     The Forest Service’s denial of the State’s request for a D-2 easement for

                                                                          24   the Shelter Cove Road project, based on the assumption and interpretation of a 300-
                                                                          25
                                                                               foot-wide fixed transportation and utility corridor, was not in accordance with
                                                                          26

                                                                               SOA v. USFS and Beth Pendleton                                             1:16-cv-00018-SLG
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                                                                           1   SAFETEA-LU § 4407 and its establishment of complete and unbroken transportation
                                                                           2
                                                                               and utility corridors linking the communities of Southeast Alaska.
                                                                           3
                                                                                       90.       The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                           4
                                                                               the Shelter Cove Road project, based on the assumption and interpretation of a 300-
                                                                           5

                                                                           6   foot-wide fixed transportation and utility corridor, was not in accordance with the

                                                                           7   Parties’ Section 4407 MOU that is designed to allow planning activities in a floating
                                                                           8   easement in order to determine an acceptable location for a transportation or utility
                                                                           9
                                                                               facility.
                                                                          10
                                                                                       91.      The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                          11
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                                                                               the Shelter Cove Road project, based on the assumption and interpretation of a
                                                                          12
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                                                                          13   300-foot-wide fixed transportation and utility corridor, was not in accordance with

                                                                          14   Congress’s explicit directive to the Forest Service to not delay or deny the issuance of
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                                                                          15
                                                                               the easement once the State received all necessary permits for construction.
                                                                          16
                                                                                       92.      The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                          17
                                                                               the Shelter Cove Road project, based on the assumption and interpretation of a 300-
                                                                          18

                                                                          19   foot-wide fixed transportation and utility corridor, was arbitrary and capricious, and an

                                                                          20   abuse of the Parties’ agreed upon location and review process in the
                                                                          21   Section 4407 MOU.
                                                                          22
                                                                                              SECOND CAUSE OF ACTION—DECLARATORY RELIEF
                                                                          23               (Forest Service Interpretation of a Required Discretionary Decision)

                                                                          24           93.      The State incorporates by reference all preceding paragraphs.
                                                                          25

                                                                          26

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                                                                           1           94.   The Forest Service’s review and approval of planning or construction
                                                                           2
                                                                               activities proposed to be completed within the transportation and utility easements
                                                                           3
                                                                               granted under SAFETEA-LU § 4407 do not constitute discretionary decisions that
                                                                           4
                                                                               require individual NEPA reviews and decisions, and do not require compliance with all
                                                                           5

                                                                           6   Forest Service road building limitations and prohibitions.

                                                                           7           95.   The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                           8   the Shelter Cove Road project, based on the assumption and interpretation that a NEPA
                                                                           9
                                                                               review and decision is required, was not in accordance with SAFETEA-LU § 4407’s
                                                                          10
                                                                               plain language that the easements were granted “notwithstanding any other provision of
                                                                          11
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                                                                               law.”
                                                                          12
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                                                                          13           96.   The Forest Service’s denial of the State’s request for a D-2 easement for

                                                                          14   the Shelter Cove Road project, based on the assumption and interpretation that the
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                                                                          15
                                                                               proposed road must comply with all Forest Service road building limitations and
                                                                          16
                                                                               prohibitions, was not in accordance with the Parties’ Section 4407 MOU that
                                                                          17
                                                                               specifically lists the nine federal laws with which a proposed project must show
                                                                          18

                                                                          19   compliance and that specifically and intentionally excluded NEPA or any Forest Service

                                                                          20   administered laws from the list.
                                                                          21           97.   The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                          22
                                                                               the Shelter Cove Road project, based on the assumption and interpretation that the
                                                                          23
                                                                               proposed road must comply with all Forest Service road building limitations and
                                                                          24
                                                                               prohibitions, was not in accordance with Congress’s explicit directive to the Forest
                                                                          25

                                                                          26   Service to “not withhold or deny the issuance of an easement for a proposed

                                                                               SOA v. USFS and Beth Pendleton                                        1:16-cv-00018-SLG
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                                                                           1   transportation or utility project that otherwise has all necessary construction permits and
                                                                           2
                                                                               authorizations from other State and Federal agencies.”
                                                                           3
                                                                                      98.    The Forest Service’s denial of the State’s request for a D-2 easement for
                                                                           4
                                                                               the Shelter Cove Road project, based on the assumption and interpretation that a NEPA
                                                                           5

                                                                           6   review and decision is required, was arbitrary and capricious, in excess of statutory

                                                                           7   authority, and otherwise contrary to law.
                                                                           8              THIRD CAUSE OF ACTION—DECLARATORY RELIEF
                                                                           9
                                                                                 (Forest Service Adding NEPA requirement to Eastern Segment D-2 Easement)

                                                                          10          99.    The State incorporates by reference all preceding paragraphs.

                                                                          11          100.   The Forest Service’s unilateral modification of the D-2 easement for the
ATTORNEY GENERAL, STATE OF ALASKA




                                                                          12
                                                                               eight-mile section of the existing Shelter Cove Road to include a NEPA requirement,
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                                                                          13
                                                                               based on the Forest Service’s assumption and interpretation that it retained discretionary
                                                                          14
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                                                                               authority to withhold approval of a project in a Section 4407 transportation and utility
                                                                          15

                                                                          16   corridor, was arbitrary and capricious, and an abuse of the project location and review

                                                                          17   process the Parties agreed upon in the Section 4407 MOU.
                                                                          18
                                                                                             FOURTH CAUSE OF ACTION—INJUNCTIVE RELIEF
                                                                          19                   (Forest Service’s Refusal to Issue the D-2 Easement)

                                                                          20          101.   The State incorporates by reference all preceding paragraphs.
                                                                          21          102.   The Regional Forester Beth Pendleton’s July 16, 2015 decision to deny
                                                                          22
                                                                               the State’s renewed request for the D-2 easement was contrary to SAFETEA-LU § 4407
                                                                          23
                                                                               and Congress’s directive.
                                                                          24
                                                                                      103.   The State sited the Shelter Cove Road in the least environmentally
                                                                          25

                                                                          26   damaging location and in accordance with the terms of the Section 4407 MOU. The

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                                                                           1   State has all necessary regulatory permits and authorizations for construction of the
                                                                           2
                                                                               project.
                                                                           3
                                                                                      104.   In accordance with the terms of the Section 4407 MOU, and Congress’s
                                                                           4
                                                                               directive, Beth Pendleton owes the State the duty to immediately deliver the D-2
                                                                           5

                                                                           6   easement for the segment of the State’s Shelter Cove Road project located in

                                                                           7   Sections 8 and 17.
                                                                           8                                  PRAYER FOR RELIEF
                                                                           9
                                                                                      WHEREFORE, the State of Alaska respectfully requests that this Court enter a
                                                                          10
                                                                               judgment in favor of the State and issue an order granting the following relief:
                                                                          11
ATTORNEY GENERAL, STATE OF ALASKA




                                                                                      1.     Declaring that SAFETEA-LU § 4407 consummated a reciprocal exchange
                                                                          12
                                    PO Box 110300, JUNEAU, ALASKA 99811




                                                                          13   of easements between the Parties, which left the Forest Service no discretion to

                                                                          14   indefinitely withhold or deny the issuance of recordable documentation of a
                                            PHONE (907) 465-3600
                                              Dimond Courthouse




                                                                          15
                                                                               transportation and utility easement connecting the communities of Southeast Alaska
                                                                          16
                                                                               along the corridors depicted on Map 92337;
                                                                          17
                                                                                      2.     Declaring that the project’s D-1 easements, issued pursuant to the terms of
                                                                          18

                                                                          19   the Section 4407 MOU, authorized activities necessary or incident to highway and

                                                                          20   utility planning, design and environmental review processes in a 300-foot-wide floating
                                                                          21   easement that could be located anywhere within the square-mile sections listed on each
                                                                          22
                                                                               D-1 easement;
                                                                          23
                                                                                      3.     Declaring that the Parties’ 2013 revision of the D-1 easement to better
                                                                          24
                                                                               accommodate the siting and development of the project was consistent with the
                                                                          25

                                                                          26

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                                                                           1   purposes of SAFETEA-LU § 4407 and the Section 4407 MOU to connect the
                                                                           2
                                                                               communities of Southeast Alaska with transportation and utility infrastructure;
                                                                           3
                                                                                      4.     Declaring that the Forest Service is required to issue a D-2 easement for
                                                                           4
                                                                               any highway or utility project linking the communities of Southeast Alaska depicted
                                                                           5

                                                                           6   along a Map 92337 transportation and utility corridor if the proposed transportation or

                                                                           7   utility project has all necessary construction permits and authorizations from other state
                                                                           8   and federal agencies;
                                                                           9
                                                                                      5.     Compelling the Forest Service’s Regional Forester to issue the D-2
                                                                          10
                                                                               easement for the one-mile segment of the State’s Shelter Cove Road project that is
                                                                          11
ATTORNEY GENERAL, STATE OF ALASKA




                                                                               located in Sections 8 and 17 and on National Forest System lands;
                                                                          12
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                                                                          13          6.     Providing any other relief that the Court deems just and proper; and,

                                                                          14          7.     Awarding the State of Alaska its costs and expenses, including reasonable
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                                              Dimond Courthouse




                                                                          15
                                                                               attorneys’ fees.
                                                                          16
                                                                                      DATED: December 13, 2016.
                                                                          17

                                                                          18                                             JAHNA LINDEMUTH
                                                                          19                                             ATTORNEY GENERAL

                                                                          20
                                                                                                                         By:    /s/Sean P. Lynch
                                                                          21                                                    Sean P. Lynch
                                                                          22
                                                                                                                                Assistant Attorney General
                                                                                                                                Alaska Bar. No. 0710065
                                                                          23

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